FW: Training

From: Chapman, Sonya (sonyachapman@adt.com)
To: — snychpmn@yahoo.com

Date: Tuesday, March 8, 2022 at 03:25 PM CST

Thank you.

Sonya Chapman

Specialist I]. OpsSuptCntr
8880 Esters Blvd | Irving, TX 75063

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From: Brown, Bryan J (Aurora) <BBrown@adt.com>

Sent: Tuesday, March 8, 2022 10:29 AM

To: Chapman, Sonya <SonyaChapman@ADT.COM>

Cc: Merrick, Ashley <amerrick@adt.com>; Noll, Jeremy A <jnoll@adt.com>; Fields, Yolanda <YBouey@adt.com>
Subject: RE: Training

Sonya,

Thank you for reaching out and showing commitment to continue your employment. At this time, as part of the
business unit we are moving forward requesting termination. Myself and my peers are in support of this decision
and feel it is the best solution for ADT. In training, we have dedicated 1 on 1 resources, worked action plans, and
gave you extra time to perform at a level that meets business standards of performance. We set clear expectations
while providing feedback of your behavior and performance consistently throughout training which had to be
addressed with the corrective action process. As of yesterday, you were not at a performance level needed to be
successful in the RSS role.

You were a Customer Inbound team member as a contractor which is a different head count. Being an ADT hire, we
did not have a position available in our Customer Inbound to offer.

Respectfully,

Bryan Brown

Unit Manager.Training, Development, & Quality

Field and Operations Support Centers

Work: 904-451-4984 | Cell: 720-308-8191 | Email: bbrown@adt.com

yb) I
From: Chapman, Sonya <SonyaChapman@adt.com>
Sent: Tuesday, March 8, 2022 10:39 AM

To: Brown, Bryan J (Aurora) <BBrown@adt.com>
Subject: FW: Training

Hi Bryan, may you assist me please. Recently, | was terminated per Ashley Merrick advising the Field Ops Managers
requested | be terminated due to my performance in the RSS role. | am reaching out for assistance to retain my
employment. | am willing to accept a mentorship position, and so on to remain employed. | am not sure where to
go regarding a next position. My position before the RSS training was OSC Inbound, may you review If it would be ok
for me to return to OSC Inbound. Any help regarding this is greatly appreciated. | included my email to Jeremy Noll,
he is not in the office, prompting me to reach out to you.

Thank you.

Sonya Chapman

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From: Chapman, Sonya

Sent: Tuesday, March 8, 2022 9:11 AM
To: Noll, Jeremy A <jnoll@adt.com>
Subject: Training

Hi Jeremy. Can you please assist me in some way. | reached out to Yolanda Fields as she is listed as one of the
regional managers. May | have a chance to confirm or give support to an account of what happened. | am copying
you on the email | sent to Yolanda as follows:

Ashley Merrick terminated me on 3/7/2022 due to my performance and advised me it was a decision that came
from management. The training did not go well for me. This position did not come without some dedication and
hard work. | worked hard in the scheduling department for a year to get to a level where | could apply for the RSS
role where | worked well with the OSC inbound team. The role here with ADT is one of significant importance to
me. | in no way took my duties and responsibilities lightly and am asking that | get an opportunity to defend my
position as an ADT employee. As far as training | was given good feedback from one of the mentors advising | was
doing as well as the others in my training class. There is an implication that there could be some personality conflict
here as well. | am a dedicated customer service professional willing to do all there is to be the best including
training mentoring, counseling whatever it takes. Here is what a team member had to say about me:

“Today | had a particularly difficult situation with a customer who had a service call earlier in the day. His system
worked just fine while the tech was there and for several hours after the tech left. But then the exact same error
message showed up again and would not clear. He called in to ask for the tech to come back ASAP. | spoke
with the tech and there was no way he could return today. He gave me some names and numbers of a couple
of his managers and ask that | call them to get the on call tech out tonight. Unfortunately, after several phone
calls to each of them as well as a few messages sent to them in teams | was still unable to reach anyone to get
this issue resolved. THAT is when Sonya in OSC got involved. After looking at her schedule she told me the
chances were very slim that another service call would be made so soon. In fact, there were no slots available
for a few weeks. But she said she would do her best and asked me to hang on for a few minutes. | don't know
how many calls she made or how many people she spoke with but each time she came back to the line the
dates were getting closer and closer. | don't know what kind of magic she worked. | just know that she worked
it. She didn't take the easy way. She didn't just say "I'm sorry. | can't get anything sooner" and then give up. She
was persistent and did her very best to help our customer. | don't know how she did it, but she was able to
schedule for a return visit first thing in the morning. Our customer was VERY happy and incredibly grateful. And
so am I. Sonya really cares about the customer and their needs. And she does everything possible to meet
them. | am so grateful to have Sonya as a member of my ADT family.”

| can be reached at 214-694-5770 by phone if you are able to reach me by phone. | was given a nonworking HR
number for Rachel Ellis 972-680-3618 by Ashley Merrick when | asked to speak to someone in an attempt to save my
employment with ADT.

Thank you.

Sonya Chapman

Specialist II.OpsSuptCntr
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